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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:08CR3148
                                    )
          v.                        )
                                    )
CHAD W. FERGUSON,                   )                    ORDER
                                    )
                Defendants.         )
                                    )



     The court has been advised that the defendant still has four
outstanding felony warrants that are active.           Thus, without a
plan for the resolution of those cases, it is not practicable for
this court to consider his release.


     IT THEREFORE HEREBY IS ORDERED,

     The motion to modify conditions of release, filing no. 72,
is denied.


     DATED this 11th day of December, 2008.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
